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                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )       NO. 3:15-cr-00072-2
               v.                                    )
                                                     )       Chief Judge Sharp
                                                     )
 [2] MONTEZ LARON GRAY                               )
      aka DONTEZ LNU aka TEZ LNU                     )

                    MOTION TO TEMPORARILY RETURN DEFENDANT
                      TO STATE CUSTODY ON OCTOBER 29, 2015
                       FOR ARRAIGNMENT ON STATE CHARGES

       The United States of America, by and through its attorneys, David Rivera, the United

States Attorney for the Middle District of Tennessee, and Assistant U.S. Attorney Brent A.

Hannafan, hereby respectfully requests that this Court order that defendant be returned to state

custody of the Davidson County Sheriff’s Office on October 29, 2015, so that he can appear for

arraignments on three pending state charges.

       Defendant is not only charged in this case, he was also previously indicted in Case No.

3:15-00013 in this District, pending before Judge Campbell.     When the grand jury indicted

defendant in Case No. 3:15-00013, he was being held in the custody of the Davidson County

Sheriff’s Office based upon several pending state charges.    The United States filed a petition for

writ of habeas corpus ad prosequendum to have defendant transported from the Davidson

County Sheriff’s Office on January 27, 2015, in order to have his initial appearance in that case.

(Case No. 3:15-00013, Docket No. 5.) That petition was granted, and the writ issued, on

January 27, 2015.    (Case No. 3:15-00013, Docket No. 6.) After defendant appeared in that

case, Magistrate Judge Knowles ordered defendant detained and defendant has remained in the

custody of the United States Marshals since that time.   (Docket Nos. 17 and 18.)



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       Defendant was indicted in this case on May 20, 2015.     He initially appeared on June 10,

2015, and was ordered detained in this case as well on that same date.   (Docket Nos. 70 and

73.)

       The undersigned has been advised by Assistant District Attorney Janice Norman of the

Davidson County District Attorney’s Office that defendant has an additional three cases now

pending in Davidson County Criminal Court on which he has yet to be arraigned.      Those cases

are as follows: Case No. 2015-A-80, Case No. 2015-A-81, and Case No. 2015-B-990.         ADA

Norman has requested that defendant be transported back to the state’s custody in order to

appear, be arraigned, and to be assigned an attorney on those three cases at a hearing scheduled

for October 29, 2015.

       Based upon the above, the United States respectfully requests this Court order that

defendant be returned to the custody of the Davidson County Sheriff’s Office on October 29,

2015, and that he be returned to the custody of the U.S. Marshals on October 30, 2015 for all

other necessary proceedings in this case.   The United States has filed a motion requesting the

identical relief in Case No. 3:15-00013.



                                                     Respectfully submitted,

                                                     DAVID RIVERA
                                                     UNITED STATES ATTORNEY

                                                     By: s/ Brent A. Hannafan
                                                     Brent A. Hannafan
                                                     Assistant United States Attorney
                                                     110 9th Avenue South - Suite A-961
                                                     Nashville, Tennessee 37203
                                                     Telephone: (615) 736-5151




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